 

 

Case: 1:09-cr-01058 Document #: 39 Filed: 02/01/11 Page 1 of 5 - age|D #:128
‘HAAO 245B (Rev. 06/'€|$) Judgment in a Criminal Case

 

 

 

 

Slieet 1
UNITED STATES DiSTRiCT CoURT
NORTHERN DiStI‘lCt Of lLl_ll\lOlS
UNITED STATES OF AMERICA JUI)GMENT IN A CRIMINAL CASE
V.
Rogelic) BErajaS Case Number: 09 CR 1058
USM Number: 22905-424
Robert Rascia
Defendant’s Attomey
THE DEFENDANT:

lJpleaded guilty to count(s) TWO Of the indictment

l:l pleaded nolo contendere to count(S)
which was accepted by the court.

 

lj was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

      

   

 

_t_i:on Nature of Ot`fense _ _ Offen_se Ended Count
.i;_ra(b)(z) end Aiiempiing te expert defense eriieiee without e ueeneé`. sii`él'zoio ~Tne
(C)
The defendant is sentenced as provided in pages 2 through 9 of this judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
I:I The defendant has been found not guilty on count(s)

 

l§/Count(s) any and all remaining I:l is [;{are dismissed on the motion of the United States.

_ _ lt is ordered that the defendant niust notify the United States attorney for this district within 30 da s ofany change ot`name, residence,
or mailin address until.all tines, restitution,.costs, and special assessments imposed by thisjudgment are fu ly paid. If ordered to pay restitution,
the defen ant must notify the court and United States attorney of material changes in economic circumstancesl

2f1/2011

Datc of imposition ofjudgment

 

 

 

Signature ofJudge ,
l\/latthew F. Kennelly U. S_ District court
Naine of lodge '|lit|e ofJudge
1 ~ t i* r ( l

 

Date

 

 

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AO 2453 (Rev. 06!{]5) Judgment in Criminal Casc
Slieet 2 _ lmprisonment

Judgment _ Page 2 of 9
DEFENDANT: Roge|io Barajas
CASE NUMBER: 09 CR 1058

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

46 months

ij The court makes the following recommendations to the Bureau of Prisons:
That defendant be designated to FPC Oxford because he has children in the Chicago area.
That defendant be permitted to participate in the Residential Drug Abuse Program, at the appropriate point during his
incarceration

ij The defendant is remanded to the custody of the United States l\/larshal.

l:l The defendant shall surrender to the United States Marshal for this district:
l:l at i:l a.m. l:i p.m. on

 

l:l as notified by the United States Marshal.

I:I The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

ij before 2 p.m. on

 

ij as notified by the United States Marshal.

l:l as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of thisjudgment_
UNITED sTATES MARSHAL
B)'

 

DEPUTY UNITED S'I`A'l`ES MARSHAL

 

 

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AO 2455 (Rev. 06/05) .ludgmenl in a Criminai Case
Sheet 3 _ Supervised Release

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DEFENDANT: Roge|io Barajas
CASE NUMBER: 09 CR 1058
SUPERVISED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for a tenn of :

Three years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisdns.

The defendant shall not commit another federai, state or local crime.
The defendant shall not unlawfull possess a controlled snbs_tance. The defendant shall refrain from any unlawful use of a controlled
substancel The defendant shall su mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
[:[ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)

The defendant shall not possess a tirearm, ammunition1 destructive device, or atty other dangerous weaponl (Check, ifapplicabie.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officerl (Check, if applicable.)

ij l:l§`§`

The defendant shall participate in an approved program for domestic violence (Check, if applicable_)

lf` this fjudgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o Payrnents sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the }defendlant shall report to the probation officer and Shall submit a truthful and complete written report within the first five days of
eac mont ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibiliti_es;

5) the defendant shall work regularly at a lawful occupation1 unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7] the defendant shali refrain from excessive use of alcohol and shall not purchase, possess1 use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

S) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, Ot' administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the pro ation officer;

lU) the defendant shall permit a_ probation officer to yisit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer',

l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the robation officer, the defendant shall notify'third parties _of risks that may be occasioned by the defendant’s criminal
record or ersona history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant S compliance with such notification requirement

 

 

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Sheet 5 _ Criminal Monetary Penalties

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DEFENDANT: Roge|io Barajas
CASE NUMBER: 09 CR 1058

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment F inc Restitution
TOTALS S ‘iO0.00 $ $
[:l The determination of restitution is deferred until . An Amerided Judgment in a Cri`mi'nm' Cnre (AO 245€) will bc entered

after such detennination.
[l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

if the defendant makes a partial payment, each payee shall receive an approximately ro oitioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 L,lJ.S. . § 3664 i), all nonfederal victims must be paid
before the Untted States is paid.

Name of Payee lo_ta_l_L_o_L* Restitution Ordered Priority or Percentage

 

       

 

   

'I`OTALS $ 0.00 $ 0.00

I:I Restitution amount ordered pursuant to plea agreement $

|:l The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All Ofthe payment options on Sheet 6 may he subject
to penalties for delinquency and default, pursuant to 13 U.S.C. § 3612(g).

ij The court determined that the defendant does not have the ability to pay interest and it is ordered that:
|j the interest requirement is waived for the |:| fine [:| restitution

I:I the interest requirement for the |:l fmc [j restitution is modified as follows:

* Findings for the total amount of losses are ret%uired under Chapters 109A, l 10, l lUA, and l lBA of Title 18 for offenses committed on or after
September 13, 1994, but before Aprtl 23, 199 .

 

 

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Sheet 6 _ Schedule of Payrnents

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DEFENDANT: Roge|io Barajas
CASE NUMBER: 09 CR 1058

SCI~IEI)ULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as foilows:
A |:| Lump sum payment of $ due immediately1 balance due

E] not laterthan ,OF
|:| inaccordance |j C, ‘|:] D, |:| E,or l:|Fbelow;or

g Payment to begin immediately (may be combined with |:l C, |:| D, or |:| F below); or
C |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D |:| Payment in equal {e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F |:| Special instructions regarding the payment of criminal monetary penalties:

_Unle_ss the court has express] ordered otherwis_e, if this judgment imposes imprisonment, payment ofci'iminal monetary penalties is due durin f
imprisonment Ail crimina moneta penalties, except those payments made tliroug the Federal Bureau of Prisons’ [nmate Financia
Responsibility Program, are made tot e clerk of the court_

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

I:I Joint and Several

Defendant and Co-Defendant Names and Case Nuinbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

I:] The defendant shall pay the cost of prosecutionl

|:|

The defendant shall pay the following court cost(s):

i:i The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (l? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

 

